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                              EXHIBIT A
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                                                                                                                                                MDisCs


                                                         U.S. Bankruptcy Court
                                                Southern District of New York (Manhattan)
                                                  Bankruptcy Petition #: 18-11695-mew
                                                                                                        Date filed: 06/03/2018
Assigned to: Judge Michael E. Wiles                                                                   341 meeting: 06/29/2018
Chapter 11
Voluntary
Asset


Debtor                                                                                    represented by Jonathan Koevary
M.J.G. Merchant Funding Group, LLC                                                                       Olshan Frome Wolosky LLP
70 East 55th Street                                                                                      1325 AVENUE OF THE AMERICAS
9th Floor                                                                                                New York, NY 10019
New York, NY 10022                                                                                       212.451.2265
NEW YORK-NY                                                                                              Fax : 212.451.2222
Tax ID / EIN: XX-XXXXXXX                                                                                 Email: jkoevary@olshanlaw.com

                                                                                                           Eric J. Snyder
                                                                                                           Wilk Auslander LLP
                                                                                                           1515 Broadway, 43rd Floor
                                                                                                           New York, NY 10036
                                                                                                           (212) 981-2300
                                                                                                           Fax : (212) 752-6380
                                                                                                           Email: esnyder@wilkauslander.com

U.S. Trustee                                                                              represented by Benjamin J. Higgins
United States Trustee                                                                                    Office of the United States Trustee
Office of the United States Trustee                                                                      201 Varick Street, Room 1006
U.S. Federal Office Building                                                                             New York, NY 10014
201 Varick Street, Room 1006                                                                             212-510-0500
New York, NY 10014                                                                                       Fax : 212-668-2255
(212) 510-0500                                                                                           Email: benjamin.j.higgins@usdoj.gov


   Filing Date                 #                                                                Docket Text

                              1                     Chapter 11 Voluntary Petition for Non-Individual. Order for Relief Entered. Statement of Financial
                              (22 pgs; 2 docs)      Affairs due 06/18/2018. Atty Disclosure State. due 06/18/2018. Corporate Ownership Statement Due
                                                    at Time of Filing. Incomplete Filings due by 06/18/2018, Filed by Eric J. Snyder of Wilk Auslander
                                                    LLP on behalf of M.J.G. Merchant Funding Group, LLC. (Attachments: # 1 LBR 1007-2
 06/03/2018                                         Declaration) (Snyder, Eric) Modified on 6/4/2018 (Porter, Minnie). (Entered: 06/03/2018)

                                                    Receipt of Voluntary Petition (Chapter 11)(18-11695) [misc,824] (1717.00) Filing Fee. Receipt
 06/03/2018                                         number 12607383. Fee amount 1717.00. (Re: Doc # 1) (U.S. Treasury) (Entered: 06/03/2018)

 06/04/2018                                         Judge Michael E. Wiles added to the case. (Porter, Minnie). (Entered: 06/04/2018)

                              2                     Notice of 341(a) Meeting of Creditors with 341(a) meeting to be held on 6/29/2018 at 03:00 PM at
                              (3 pgs; 2 docs)       Office of UST (One Bowling Green, Fifth Floor, Room 511). (Richards, Beverly). (Entered:
 06/04/2018                                         06/04/2018)

                              3                     Certificate of Mailing Re: Notice of 341(a) Meeting of Creditors (related document(s) (Related Doc #
 06/06/2018                   (3 pgs)               2)) . Notice Date 06/06/2018. (Admin.) (Entered: 06/07/2018)

                              4                     Order signed on 6/7/2018 scheduling initial case conference. With hearing to be held on 7/5/2018 at
 06/07/2018                   (1 pg)                10:00 AM at Courtroom 617 (MEW). (DePierola, Jacqueline) (Entered: 06/07/2018)

                              5                     Affidavit of Service (related document(s)4) Filed by Eric J. Snyder on behalf of M.J.G. Merchant
 06/12/2018                   (1 pg)                Funding Group, LLC. (Snyder, Eric) (Entered: 06/12/2018)

                              6                     Notice of Appearance and Request for Service of Documents filed by Benjamin J. Higgins on behalf
 06/14/2018                   (1 pg)                of United States Trustee. (Higgins, Benjamin) (Entered: 06/14/2018)




https://ecf.nysb.uscourts.gov/cgi-bin/DktRpt.pl?353000834155249-L_1_0-1                                                                    4/15/2019
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 06/15/2018          7                   List of Equity Security Holders Filed by Eric J. Snyder on behalf of M.J.G. Merchant Funding Group,
                     (1 pg)              LLC. (Snyder, Eric) (Entered: 06/15/2018)

                     8                   Corporate Ownership Statement . Filed by Eric J. Snyder on behalf of M.J.G. Merchant Funding
 06/15/2018          (1 pg)              Group, LLC. (Snyder, Eric) (Entered: 06/15/2018)

                     9                   Disclosure of Compensation of Attorney For Debtor (Rule 2016(b))- Form 2030 Filed by Eric J.
 06/15/2018          (1 pg)              Snyder on behalf of M.J.G. Merchant Funding Group, LLC. (Snyder, Eric) (Entered: 06/15/2018)

                     10                  Application to Employ Wilk Auslander, LLP as Attorney for Debtor and Debtor In Possession filed
                     (12 pgs; 2 docs)    by Eric J. Snyder on behalf of M.J.G. Merchant Funding Group, LLC. (Attachments: # 1 Snyder
 06/18/2018                              Declaration) (Snyder, Eric) (Entered: 06/18/2018)

                                         Pending Deadlines Terminated: Corporate Ownership Statement. (Cappiello, Karen). (Entered:
 06/19/2018                              06/19/2018)

                     11                  Order signed on 6/25/2018 authorizing retention of Wilk Auslander LLP as counsel for the Debtor
                     (3 pgs)             effective as of the petition date, June 3, 2018 (Related Doc # 10). (DePierola, Jacqueline) (Entered:
 06/25/2018                              06/25/2018)

                     12                  Notice of Adjournment of Hearing Notice Of Adjournment Of Initial Case Management Conference
                     (1 pg)              filed by Eric J. Snyder on behalf of M.J.G. Merchant Funding Group, LLC. with hearing to be held
 07/03/2018                              on 7/17/2018 at 10:00 AM at Courtroom 617 (MEW) (Snyder, Eric) (Entered: 07/03/2018)

                     13                  Notice of Appearance and Request for Service of Documents filed by Jonathan Koevary on behalf of
 07/16/2018          (2 pgs)             MatlinPatterson Global Advisers LLC. (Koevary, Jonathan) (Entered: 07/16/2018)

                     14                  Motion for Relief from Stay , or in the alternative, Motion to Dismiss Case filed by Jonathan Koevary
                     (127 pgs; 6 docs)   on behalf of M.J.G. Merchant Funding Group, LLC. MatlinPatterson Global Advisors LLC
                                         (Attachments: # 1 Motion By MatlinPatterson Global Advisers LLC For Relief from Automatic Stay
                                         or Dismissal of the Debtors Chapter 11 Case # 2 Exhibit A - To the Motion # 3 Exhibit B - to the
                                         Motion # 4 Exhibit C - to the Motion # 5 Exhibit D - to the motion) (Koevary, Jonathan) Modified on
 07/16/2018                              7/17/2018 (Richards, Beverly). (Entered: 07/16/2018)

                                         Receipt of Motion for Relief from Stay (fee)(18-11695-mew) [motion,185] ( 181.00) Filing Fee.
                                         Receipt number 12674495. Fee amount 181.00. (Re: Doc # 14) (U.S. Treasury) (Entered:
 07/16/2018                              07/16/2018)

                     15                  Declaration of Robert H. Weiss in Support of Motion by MatlinPatterson, for Relief from Automatic
                     (2 pgs)             Stay or Dismissal of Debtor's Chapter 11 Case (related document(s)14) filed by Jonathan Koevary on
                                         behalf of M.J.G. Merchant Funding Group, LLC. MatlinPatterson Advisers LLC with hearing to be
                                         held on 8/9/2018 at 10:00 am in Courtroom 617 (MEW). Objections due by 8/2/2018, (Koevary,
                                         Jonathan) Modified on 7/17/2018 (Richards, Beverly). Modified on 7/18/2018 (Richards, Beverly).
 07/16/2018                              (Entered: 07/16/2018)

                     16                  Certificate of Service (related document(s)15, 14) Filed by Jonathan Koevary on behalf of
 07/18/2018          (3 pgs)             MatlinPatterson Global Advisers LLC. (Koevary, Jonathan) (Entered: 07/18/2018)

                     17                  Declaration Under Penalty of Perjury for Non-Individual Debtors (Official Form 202) , Schedules
                     (14 pgs)            filed: Schedule A/B - Non-Individual, Schedule G - Non-Individual, Schedule H - Non-Individual ,
                                         Statement of Financial Affairs - Non-Individual Filed by Eric J. Snyder on behalf of M.J.G. Merchant
 07/23/2018                              Funding Group, LLC. (Snyder, Eric) (Entered: 07/23/2018)

                     18                  Objection to Motion Objection of Debtor to Motion By Sublandlord to Modify Bankruptcy Stay or to
                     (10 pgs)            Dismiss Case (related document(s)14) filed by Eric J. Snyder on behalf of M.J.G. Merchant Funding
                                         Group, LLC. with hearing to be held on 8/9/2018 at 10:00 AM at Courtroom 617 (MEW) (Snyder,
 08/03/2018                              Eric) (Entered: 08/03/2018)

                     19                  Reply to Motion (in Further Support) for Relief from Automatic Stay or Dismissal of the Debtor's
                     (4 pgs)             Chapter 11 Case (related document(s)14) filed by Jonathan Koevary on behalf of MatlinPatterson
 08/06/2018                              Global Advisers LLC. (Koevary, Jonathan) (Entered: 08/06/2018)

                     20                  Certificate of Service (related document(s)19) Filed by Jonathan Koevary on behalf of
 08/07/2018          (1 pg)              MatlinPatterson Global Advisers LLC. (Koevary, Jonathan) (Entered: 08/07/2018)

                     21                  Sur-Reply to Motion Sur-Reply to Reply to Objection of Debtor to Motion By Sublandlord to Modify
                     (2 pgs)             Bankruptcy Stay or to Dismiss Case (related document(s)14) filed by Eric J. Snyder on behalf of
 08/08/2018                              M.J.G. Merchant Funding Group, LLC. (Snyder, Eric) (Entered: 08/08/2018)

 08/10/2018




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                     22                  Order signed on 8/10/2018 Granting Motion For Relief From The Automatic Stay (Related Doc #
                     (2 pgs)             14). (Cappiello, Karen) (Entered: 08/10/2018)

                     23                  (Disregard. See Document No. 28) Application for Ex Parte Relief Proposed Order to Show Cause
                                         filed by Jonathan Koevary on behalf of MatlinPatterson Global Advisers LLC. (Attachments: # 1
                                         Exhibit A - Order Granting Surrender Motion) (Koevary, Jonathan) Modified on 10/3/2018 (Gomez,
 10/02/2018                              Jessica). (Entered: 10/02/2018)

                     24                  (Disregard. See Document No. 29) Application for Ex Parte Relief Memorandum Of Law In Support
                                         Of Order To Show Cause (related document(s)23) filed by Jonathan Koevary on behalf of
                                         MatlinPatterson Global Advisers LLC. (Attachments: # 1 Exhibit A - Sublease # 2 Exhibit B - Lease
                                         # 3 Exhibit C - Notice # 4 Exhibit C - Notice) (Koevary, Jonathan) Modified on 10/3/2018 (Gomez,
 10/02/2018                              Jessica). (Entered: 10/02/2018)

                     25                  (Disregard. See Document No. 28) Affidavit of Jonathan T. Koevary, Esq. In Support Of Order To
                                         Show Cause (related document(s)24, 23) Filed by Jonathan Koevary on behalf of MatlinPatterson
                                         Global Advisers LLC. (Koevary, Jonathan) Modified on 10/3/2018 (Gomez, Jessica). (Entered:
 10/02/2018                              10/02/2018)

                     26                  Order to Show Cause signed on 10/2/2018 (related document(s)23 28, 29). Hearing scheduled for
                     (5 pgs)             10/9/2018 at 11:00 AM at Courtroom 617 (MEW). Objections due by 10/8/2018 at 3:00 pm. (Gomez,
                                         Jessica). Modified on 10/3/2018 to correct related document number information. (Gomez,
 10/02/2018                              Jessica). (Entered: 10/02/2018)

                     28                  Motion for Turnover of Property - Declaration of Jonathan T. Koevary, Esq. in Support of Order To
                     (7 pgs; 3 docs)     Show Cause filed by Jonathan Koevary on behalf of MatlinPatterson Global Advisers LLC.
                                         (Attachments: # 1 Proposed Order # 2 Exhibit A - To the Proposed Order to Show Cause) (Koevary,
 10/02/2018                              Jonathan) (Entered: 10/03/2018)

                     29                  Memorandum of Law in Support of Order to Show Cause (related document(s)28) filed by Jonathan
                     (112 pgs; 5 docs)   Koevary on behalf of MatlinPatterson Global Advisers LLC. (Attachments: # 1 Exhibit A - Sublease
                                         # 2 Exhibit B - Lease # 3 Exhibit C - Notice # 4 Exhibit D - Notice) (Koevary, Jonathan) (Entered:
 10/02/2018                              10/03/2018)

                     27                  Certificate of Service re: Order to Show Cause (related document(s)26, 24, 25, 28, 29) filed by
                     (2 pgs)             Jonathan Koevary on behalf of MatlinPatterson Global Advisers LLC. (Koevary, Jonathan).
                                         Modified on 10/3/2018 to correct related document number information. (Gomez, Jessica).
 10/03/2018                              (Entered: 10/03/2018)

                     30                  Objection of Debtor to Motion by Sublandlord Seeking Immediate Surrender (related document(s)26)
                     (6 pgs; 2 docs)     filed by Eric J. Snyder on behalf of M.J.G. Merchant Funding Group, LLC. with hearing to be held
                                         on 10/9/2018 at 11:00 AM at Courtroom 617 (MEW) (Attachments: # 1 Exhibit A) (Snyder, Eric)
 10/08/2018                              (Entered: 10/08/2018)

                     31                  Order signed on 10/9/2018 directing Debtor to surrender possession of nonresidential real property at
 10/09/2018          (2 pgs)             70 East 55th Street (Related Doc # 28). (DePierola, Jacqueline) (Entered: 10/09/2018)

                     32                  Motion to Compel Debtors Immediate Compliance with Court Order or in the Alternative Deeming
                     (11 pgs; 2 docs)    Debtors Property Delivered Pursuant to 11 U.S.C. § 542 (related document(s)31) filed by Jonathan
                                         Koevary on behalf of MatlinPatterson Global Advisers LLC. (Attachments: # 1 Motion to Compel)
 11/20/2018                              (Koevary, Jonathan) (Entered: 11/20/2018)

                     33                  Declaration of Robert H. Weiss in Support of Motion to Compel (related document(s)32) filed by
                     (19 pgs; 5 docs)    Jonathan Koevary on behalf of MatlinPatterson Global Advisers LLC. (Attachments: # 1 Exhibit A -
                                         Furniture Inventory # 2 Exhibit B - Email Chain # 3 Exhibit C - Email # 4 Exhibit D - Invoices)
 11/20/2018                              (Koevary, Jonathan) (Entered: 11/20/2018)

                     34                  Certificate of Service (related document(s)33, 32) filed by Jonathan Koevary on behalf of
                     (2 pgs)             MatlinPatterson Global Advisers LLC. with hearing to be held on 12/5/2018 at 10:00 AM at
 11/21/2018                              Courtroom 617 (MEW) Objections due by 11/28/2018, (Koevary, Jonathan) (Entered: 11/21/2018)

                     35                  Letter of the United States Trustee Requesting Status Conference Filed by Benjamin J. Higgins on
 11/26/2018          (1 pg)              behalf of United States Trustee. (Higgins, Benjamin) (Entered: 11/26/2018)

                     36                  Notice of Hearing / Notice of Status Conference filed by Benjamin J. Higgins on behalf of United
                     (1 pg)              States Trustee. with hearing to be held on 12/5/2018 at 10:00 AM at Courtroom 617 (MEW)
 11/26/2018                              (Higgins, Benjamin) (Entered: 11/26/2018)

 12/03/2018          37                  Notice of Adjournment of Hearing on Motion to Compel Debtors Immediate Compliance with Court
                     (2 pgs)             Order (related document(s)32) filed by Jonathan Koevary on behalf of MatlinPatterson Global




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                                          Advisers LLC. with hearing to be held on 12/6/2018 at 11:00 AM at Courtroom 617 (MEW)
                                          (Koevary, Jonathan) (Entered: 12/03/2018)

                     38                   Stipulation Proposed So-Ordered Stipulation of Adjournment of Motion to Compel Debtors
                     (6 pgs)              Immediate Compliance with Court Order or in the Alternative Deeming Debtors Property Delivered
                                          Pursuant to 11 U.S.C. § 542 (related document(s)32) Filed by Jonathan Koevary on behalf of
 12/04/2018                               MatlinPatterson Global Advisers LLC. (Koevary, Jonathan) (Entered: 12/04/2018)

                     39                   So Ordered Stipulation signed on 12/6/2018 adjourning motion to compel Debtor's immediate
                     (6 pgs)              compliance with Court Order or in the alternative deeming Debtor's property delivered (related
 12/06/2018                               document(s)32, 38) (DePierola, Jacqueline) (Entered: 12/06/2018)

                     40                   Notice of Adjournment of Hearing on Motion to Compel Debtors Immediate Compliance with Court
                     (2 pgs)              Order (related document(s)32) filed by Jonathan Koevary on behalf of MatlinPatterson Global
                                          Advisers LLC. with hearing to be held on 1/16/2019 at 11:00 AM at Courtroom 617 (Koevary,
 12/12/2018                               Jonathan) (Entered: 12/12/2018)

                     41                   Motion to Dismiss Case filed by Eric J. Snyder on behalf of M.J.G. Merchant Funding Group, LLC
                     (16 pgs; 3 docs)     with hearing to be held on 1/16/2019 at 11:00 AM at Courtroom 617 (MEW) Responses due by
 01/04/2019                               1/11/2019,. (Attachments: # 1 Exhibit A # 2 Exhibit B) (Snyder, Eric) (Entered: 01/04/2019)

                     42                   Affidavit of Service of Motion to Dismiss (related document(s)41) Filed by Eric J. Snyder on behalf
 01/08/2019          (3 pgs)              of M.J.G. Merchant Funding Group, LLC. (Snyder, Eric) (Entered: 01/08/2019)

                     43                   Motion to Dismiss Case Supplement to Motion to Dismiss (related document(s)41) filed by Eric J.
                     (5 pgs; 2 docs)      Snyder on behalf of M.J.G. Merchant Funding Group, LLC with hearing to be held on 1/16/2019 at
                                          11:00 AM at Courtroom 617 (MEW) Responses due by 1/11/2019,. (Attachments: # 1 Exhibit A)
 01/10/2019                               (Snyder, Eric) (Entered: 01/10/2019)

                     44                   Affidavit of Service of Supplement to Motion to Dismiss (related document(s)43) Filed by Eric J.
 01/11/2019          (3 pgs)              Snyder on behalf of M.J.G. Merchant Funding Group, LLC. (Snyder, Eric) (Entered: 01/11/2019)

                     45                   Objection to Motion to Dismiss Case (related document(s)41) filed by Jonathan Koevary on behalf of
 01/14/2019          (5 pgs)              MatlinPatterson Global Advisers LLC. (Koevary, Jonathan) (Entered: 01/14/2019)

                     46                   Certificate of Service (related document(s)45) Filed by Jonathan Koevary on behalf of
 01/15/2019          (1 pg)               MatlinPatterson Global Advisers LLC. (Koevary, Jonathan) (Entered: 01/15/2019)

                     47                   So Ordered Stipulation signed on 1/18/2019 resolving Matlinpatterson Global Advisors, LLC's
                     (7 pgs; 2 docs)      motion to compel Debtor's immediate compliance with court Order or in the alternative deeming
                                          Debtor's property delivered and Debtor's motion to dismiss case (related document(s)32). (DePierola,
 01/18/2019                               Jacqueline) (Entered: 01/18/2019)




                                                  PACER Service Center
                                                       Transaction Receipt
                                                        04/15/2019 14:20:15
                               PACER                    Client
                               Login:                   Code:
                                                                  18-11695-mew Fil or Ent: filed To:
                                                                  4/15/2019 Doc From: 0 Doc To:
                                              Docket    Search
                               Description:                       99999999 Headers: included
                                              Report    Criteria:
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                                                                  documents: included
                               Billable
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                               Pages:




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